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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

                                                     X
                                                     :
BARBARA VALENTI,
                                                     :
                                   Plaintiff,        : CIVIL CASE MANAGEMENT PLAN
                                                     :
                     - against -                     : 1:22-cv-04361 (BMC)
                                                     :
SYNERGY CHC CORP.,                                   :
                                                     :
                                   Defendant.
                                                     :

                                                     X

COGAN, District Judge

         After consultation with counsel for the parties, the following Case Management Plan is

adopted. This plan is also a scheduling order pursuant to Federal Rules of Civil Procedure 16

and 26(f).

A.       The case is to be tried to a jury.

B.       Non-Expert Discovery:

         1.      The parties are to conduct discovery in accordance with the Federal Rules of Civil

                 Procedure and the Local Rules of the Eastern District of New York. All non-expert

                 discovery is to be completed by January 16, 2023, which date shall not be adjourned

                 except upon a showing of good cause and further order of the Court. Interim

                 deadlines for specific discovery activities may be extended by the parties on

                 consent without application to the Court, provided the parties are certain that they

                 can meet the discovery completion date.

                 The parties shall list the contemplated discovery activities and anticipated

                 completion dates in Attachment A, annexed hereto.


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         2.     Joinder of additional parties must be accomplished by October 14, 2022.

         3.     Amended pleadings may be filed without leave of the Court until October 14, 2022.

C.       For all causes of action seeking monetary damages, each party shall identify and quantify

         in Attachment B, annexed hereto, each component of damages alleged; or, if not known,

         specify and indicate by what date Attachment B shall be filed providing such information.

D.       Motions:

         1.     Upon the conclusion of non-expert discovery, and no later than the date provided

                below, the parties may file dispositive motions. The parties shall agree to a

                schedule and promptly submit same for the Court’s approval, providing for no more

                than three rounds of serving and filing papers: supporting affidavits and briefs,

                opposing affidavits and briefs, and reply affidavits and briefs.

         2.     The last day for filing a letter, pursuant to Rule III.A.2 of the Court’s Individual

                Practices, requesting a premotion conference in order to file dispositive motions

                shall be January 23, 2023.      (Counsel shall insert a date one week after the

                completion date for non-expert discovery.)

                    a.    There shall be no cross-motions. Any motions not made by the agreed

                          date shall, unless the Court orders otherwise, not be considered until after

                          the timely-filed motion is determined.

                    b.    Papers served and filed by the parties shall conform to the requirements

                          set out in the Court’s Individual Practices.

E.       Any request for relief from a date provided in this Case Management Plan shall conform

         to the Court’s Individual Practices and include an order, showing consents and

         disagreements of all counsel, setting out all dates that are likely to be affected by the




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         granting of the relief requested, and proposed modified dates. Unless and until the Court

         approves the proposed order, the dates provided in this Plan shall be binding.

F.       Pre-Trial Motions:

         Applications for adjournments and for discovery or procedural rulings will reflect or

         contain the positions of all parties, as provided by the Court’s Individual Rules, and are not

         to modify or delay the conduct of discovery or the schedules provided in this Case

         Management Plan except upon leave of the Court.


SO ORDERED.                                  Digitally signed by
                                             Brian M. Cogan
                                                __________________________________________
Dated: Brooklyn, New York                                          U.S.D.J.
      Sept.
       _____6__, 20__
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                                        ATTACHMENT A

The Parties are to list the discovery activities (i.e., production of documents, number of
depositions, requests to admit, interrogatories) and anticipated completion dates:

              DISCOVERY ACTIVITIES                            COMPLETION DATE
   1. Exchange of Fed. R. Civ. P. 26(a)(1) Initial September 30, 2022
   Disclosures



   2. Requests for production of documents and      December 16, 2022
   production of responsive documents



   3. Interrogatories and responses thereto         December 16, 2022



   4. Fact depositions (both parties limited to a   January 16, 2023
   maximum of ten (10) aside)



   5. Requests for admission and responses          January 16, 2023
   thereto



   6. Expert reports required under Fed. R. Civ. March 3, 2023
   P. 26(a)(2) for the party bearing the burden of
   proof on any issue, claim or defense



   7. Rebuttal expert reports                       April 17, 2023



   8. Expert depositions                            May 31, 2023




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                                       ATTACHMENT B

For all causes of action seeking monetary damages, each party shall identify and quantify
each component of damages alleged:

1.       PLAINTIFFS’ CLAIMS:

Plaintiffs and the putative class seek damages for Defendant’s alleged false advertising of
Defendant’s brain health supplement, Focus Factor, under N.Y. Gen. Bus. Law (“GBL”) §§ 349
and 350 and the Illinois Consumer Fraud Deceptive Business Practices Act (“ICFA”) 815 ILCS
505/1. Under those provision, Plaintiffs and the putative class of New York and Illinois purchasers
of Focus Factor may seek actual damages or statutory damages. Plaintiff has alleged that she and
the other members of the putative class have paid a price premium for the Defendant’s product,
Focus Factor, based on Defendant’s alleged misrepresentations concerning Focus Factor. The
class wide damages are a product of the number of bottles of Focus Factor, their price, and the
price premium the class paid over comparable products. Plaintiff lacks sufficient knowledge of
the sales and retail price of Focus Factor in New York and Illinois during the three-year period
preceding the commencement of this action to calculate actual damages at this time, but has
estimated that Defendant sold $9.2 million worth of Focus Factor representing 368,000 to 613,333
bottles of Focus Factor in New York and Illinois during that period. In addition, statutory damages
under NY GBL §§ 349 and 350 are, respectively, $50 or $500 per purchase plus attorneys’ fees.
Plaintiff estimates that there are over 10,000 potential class members.

2.       COUNTERCLAIMS AND CROSS-CLAIMS:



None.



3.       THIRD-PARTY CLAIMS:


None.




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